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 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                Case No. 2:15-cr-00011-JCM-CWH
                                               )
 9   vs.                                       )                ORDER
                                               )
10   JEROME MICHAEL BELL, et al.,              )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant Jerome Michael Bell’s Motion for Joinder
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     (#26), filed May 4, 2015. Defendant Bell seeks to join the motion for severance (#25), filed by
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     Defendant Walker on May 1, 2015. After review, the court finds good cause for the request.
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     Accordingly,
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            IT IS HEREBY ORDERED that the Motion for Joinder (#26) is granted.
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            DATED: May 19, 2015.
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                                                 ______________________________________
20                                               C.W. Hoffman, Jr.
                                                 United States Magistrate Judge
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